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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                  TYLER DIVISION


LONE STAR TECHNOLOGICAL           §
INNOVATIONS, LLC                  §
                                  §
V.                                §     CIVIL NO. 6:19-cv-00059
                                  §
ASUS COMPUTER INTERNATIONAL, §
et al                             §
________________________________________________________________________

                       MINUTES FOR FIFTH DAY OF TRIAL
                  HELD BEFORE JUDGE ROBERT W. SCHROEDER III
                                 MAY 21, 2021

OPEN: 8:56 a.m.                                    ADJOURN: 2:27 p.m.
________________________________________________________________________

ATTORNEYS FOR PLAINTIFF:             John Saba, Joshua Bennett, Bradley Liddle, Monica Litle and
                                     John Lee

ATTORNEYS FOR DEFENDANT: Vinay Joshi and Andrew Oliver

LAW CLERK:                           Jonathan Powers

COURTROOM DEPUTY:                    Betty Schroeder

COURT REPORTER:             Kate McAlpine
________________________________________________________________________

8:56 a.m.    Outside the presence of the jury, the Court and parties discuss objections to the jury
             instructions and verdict form; parties inform the Court they will rest on their
             submissions in regard to Defendant’s JMOLs; Court will carry the motions; Mr.
             Bennett argues Plaintiff’s objection to a demonstrative; Mr. Oliver responds; Court
             sustains the objection; Mr. Oliver argues Defendant’s objection to a demonstrative;
             Mr. Bennett responds; Court overrules the objection

9:12 a.m.    Jury seated

9:13 a.m.    Court gives instructions to the jury

10:23 a.m.   Recess
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10:36 a.m.   Jury seated

10:37 a.m.   Mr. Bennett begins closing argument for Plaintiff

10:59 a.m.   Mr. Oliver gives closing argument for Defendant

11:03 a.m.   Objection by Mr. Bennett; Court responds

11:30 a.m.   Mr. Oliver concludes his closing argument

11:40 a.m.   Jury excused to begin deliberations

11:40 a.m.   Outside the presence of the jury, Court instructs the parties to stay close and to
             provide phone numbers

11:42 a.m.   Recess

2:16 p.m.    Court informs the parties a verdict has been reached; Court informs the parties
             about his policy regarding parties talking to the jury

2:17 p.m.    Jury seated

2:18 p.m     Court questions the foreperson as to whether a verdict has been reached and if it is
             unanimous; foreperson responds

2:18 p.m.    Verdict read

2:21 p.m.    Court polls the jury; all members of the jury stood; verdict accepted; Court thanks
             the jurors for their service

2:24 p.m.    Jury released

2:25 p.m.    Court asks the parties to meet and confer regarding a post-trial briefing schedule and
             place on the docket by next Friday

2:27 p.m.    Adjourned
